Case 2:97-cr-20190-SH|\/| Document 43 Filed 04/19/05 Page 1 of 2 Page|D 11

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE s_'}{j_ ;":f; § ,i
Western Division

    

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UNITED STA']`ES OF AMERICA

i\\»'l:l
-vs- Case No. 2:97cr20190-Ma

KENNETH MCMULLEN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federa] Public Defender is appointed as counsel for the Defendant.

'I`YPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Meniphis, this l l day oprril, 2005.

` TU M. PHAM
uNtTED sTATEs MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

KENNETH MCMULLEN

this document entered on the docket sheet in compliance
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This notice confirms a copy of the document docketed as number 43 in
case 2:97-CR-20190 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

